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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Jennifer Lynn Brightwell a/k/a Jennifer       )
Lynn Norcutt,                                 )       Case No. 1:15-cr-156
                                              )
               Defendant.                     )


       The record reflect that defendant appeared in the District of Arizona on a petition for action

on her conditions of pretrial release and, following a hearing on August 12, 2016, was released by

the district court on her previously imposed conditions with the additional condition of electronic

monitoring. See Docket No. 103-4. This court ADOPTS and continues the amended conditions

of release imposed on defendant by the district court in Arizona.

       IT IS SO ORDERED.

       Dated this 17th day of August, 2016.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
